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                                                                  c.               -,-'
                                                                                       -
               IN THE UNITED STATES DISTRICT COURT FOR                              L)
                  THE SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION
                                                                       Dty C'erk
UNITED STATES OF AMERICA

V.                                 )
                                           CASE NO.   CR597-003
CHRISTOPHER L. GREEN, a/k/a
Shawn Green

      Defendant.


                                ORDER

      On December 15, 2008, the Eleventh Circuit Court of Appeals

issued an Order remanding this case to the District Court.

(Doc. 1923.)       The Court of Appeals directed this Court to

determine if Defendant Christopher L. Green "demonstrated the

required excusable neglect or good cause necessary for the

district court to grant his motion for an extension of time to

file a notice of appeal."          (Id.)     In his Motion (Doc. 1904),

Defendant stated that he was prevented from working on his

Notice of Appeal due to frequent security lock-downs at his

prison facility. After careful review, the Court FINDS that

Defendant made an adequate showing of good cause. The Clerk of

Court is DIRECTED to send a copy of this Order to the Court of

Appeals.

      SO ORDERED this 6Zday of January, 2009.



                        WILLIAM T. MOORE, JR., CHIEF JUDGE
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
